Case 1:07-cr-00181-EGS Document 205 Filed 08/28/09 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED sTATES 0F AMERICA
crim NO. 07-181 (EGS)

F\LED

AUG 2 8 2009

cY wman wH\TT\NGmN, sum
ORDER NAN u.s. D\sTR\cT coum

V.

\_/\/\_/\/\/\/

zHENLI YE GON

The Indictment is hereby dismissed With prejudice pursuant to Fed. R. Crim. P. 48(a).

K/

Ernmet G. Sul]ix`ran
United States District ]udge j/Zf/I;

It is so ORDERED.

 

 

